     Case 4:19-cr-00015-RSB-CLR Document 130 Filed 09/23/19 Page 1 of 1
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                       UNITED STATES DISTRICT COURT                                10' 2^
                       SOUTHERN DISTRICT OF GEORGIA
                                SAVANNAH DIVISION
                                                               ''   I ■      ,r U A.
UNITED STATES OF AMERICA

V.                                                4:19-CR-015


HAKEEM CAMPBELL,et. al.


                                         ORDER


         Upon consideration of the Motion for Leave of Absence by Assistant United

States Attorney Frank M.Pennington for the dates of September 30'** through October

3^'', 2019 for personal leave, and October 23^'' through November 1®S 2019 for training, the

same is hereby GRANTED, however, the attorney must make arrangements for

other counsel in the event the case is scheduled for hearing or trial during such

leave.




         SO ORDERED this^i^'^day of September, 2019.


                                           HONORABLE CHRlStOPHER L. tlAY
                                           UNITED STATES MAGISTRATE COURT
                                           SOUTHERN DISTRICT OF GEORIGA
